

Matter of McLennon (2022 NY Slip Op 06214)





Matter of McLennon


2022 NY Slip Op 06214


Decided on November 3, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 3, 2022

PM-178-22
[*1]In the Matter of Daniel Frederick McLennon, an Attorney. (Attorney Registration No. 5637897.)

Calendar Date:October 31, 2022

Before:Garry, P.J., Egan Jr., Lynch, Clark and Aarons, JJ.

Daniel Frederick McLennon, Greenbrae, California, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Daniel Frederick McLennon was admitted to practice by this Court in 2018 and lists a business address in San Francisco, California with the Office of Court Administration. McLennon now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose McLennon's application.
Upon reading McLennon's affidavit sworn to September 12, 2022 and filed September 29, 2022, and upon reading the October 26, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that McLennon is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Lynch, Clark and Aarons, JJ., concur.
ORDERED that Daniel Frederick McLennon's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Daniel Frederick McLennon's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Daniel Frederick McLennon is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and McLennon is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Daniel Frederick McLennon shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








